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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
 THE AMERICAN HOSPITAL                        )
 ASSOCIATION, et al.,                         )
                                              )
               Plaintiffs,                    )           Case No. 1:18-CV-2841-RMC
                                              )
        v.                                    )
                                              )
 ALEX M. AZAR II, in his official capacity as )
 Secretary of Health & Human Services,        )
                                              )
               Defendant.                     )
                                              )
                                              )


      RESPONSE TO PLAINTIFFS’ NOTICE OF INTENT TO FILE MOTION TO
        ENFORCE JUDGMENT AND REQUEST FOR BRIEFING SCHEDULE
       Plaintiffs have filed a “Notice of Intent to File Motion to Enforce Judgment and Request

for Briefing Schedule,” November 6, 2019, ECF No. 40. Both Plaintiffs’ proposed filing and the

requested briefing schedule merit a brief response.

       Plaintiffs’ proposed motion will attempt to “enforce this Court’s judgment” with respect

to the 2019 Outpatient Prospective Payment System (OPPS) Rule against the 2020 OPPS Rule,

because the 2020 Rule’s approach to the site neutral payment policy was also at issue in 2019.

Id. Defendant recognizes the tension between the 2020 OPPS Rule and the reasoning of this

Court’s judgment with respect to the 2019 OPPS Rule, which is a product of timing (of the Rule

and this Court’s decisions) and the potential for further review of this Court’s decision as to the

2019 Rule. But that tension does not justify ignoring the unwaivable jurisdictional presentment

requirement, which would prohibit the Court from exercising jurisdiction over any challenge to

the 2020 OPPS Rule prior to Plaintiffs presenting claims to Medicare under that rule, sometime



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in the new year. Am. Hosp. Ass'n v. Azar, 895 F.3d 822 (D.C. Cir. 2018). Nor does it justify

ignoring the fact that the Court’s Order with respect to the 2019 Rule does not (and could not)

extend to the 2020 Rule, meaning that there is no judgment to enforce as to the 2020 Rule. See

Order, at 1, September 17, 2019, ECF No. 32. That is why, in a similar context involving

Medicare payments for certain drug purchases, the American Hospital Association (AHA)—one

of the Plaintiffs here—filed a motion to extend the Court’s previous ruling with respect to the

2018 OPPS Rule to the 2019 OPPS Rule. See AHA v. Azar, 18-cv-2084 (DDC) (RC), Motion for

a Permanent Injunction Covering the 2019 OPPS Rule, Feb. 11, 2019, ECF No. 35. In other

words, AHA did not seek relief under the guise of a motion to enforce the earlier judgment, and

it came to the Court only after satisfying the jurisdiction presentment requirement. All of that

said, because of the tension adverted to earlier in this paragraph, following presentment of claims

in early 2020, Defendant is amenable to litigating the matter expeditiously while still preserving

Defendants’ ability to appeal the Court’s judgment as to the 2019 Rule, as well as any future

decision with respect to the 2020 Rule.

       With respect to scheduling, as noted above, there is no need for any briefing on Plaintiffs’

proposed motion at this time, much less on an expedited schedule. But in any event, Plaintiffs

provide no solid basis for allowing Defendant only one week to response to Plaintiffs’ proposed

motion. The Local Rules afford the party responding to a motion 14 days to do so. L. Cv. R.

7(b). And Plaintiffs have not indicated that they intend to file a motion for emergency relief that

would justify an expedited briefing schedule, L. Cv. R. 65.1(c), almost certainly because they

cannot satisfy the irreparable harm requirement for such relief, given that only money is at stake.

See Taylor v. Resolution Trust Corp., 56 F.3d 1497, 1507 (D.C.Cir.1995) (holding that

recoverable economic losses normally do not constitute irreparable harm). Plaintiffs should not



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be allowed to get the benefits of emergency relief without meeting the demanding requirements

for doing so.



Dated: November 7, 2019                            Respectfully submitted,

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